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                           UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION
                                       AUSTIN

Eddie Lee Wilson, Chester Jackson Sr.        §
                                             §
vs.                                          §             NO: AU:20-CV-00311-RP
                                             §
Robert Riley Baucom, Deputy John K. Bennett, §
Sheriff Thomas Norsworthy, City of Caldwell,
Burleson County

                                              ORDER


                         sets and directs the parties, or counsel acting on their behalf, to appear
        The Court hereby sets

                      conference on Friday, September 17, 2021 at 02:30 PM in the United States
 for a final pretrial conference

 Courthouse, Courtroom #4, Fifth Floor, 501 West 5th Street, Austin
                                                             Austin, Texas.

        The parties should consult Local Rules CV-16(f)–(g) regarding matters to be filed in advance

of the final pretrial conference. Each party is expected to file the materials required by Local Rule

CV-16(e) as one electronic document, styled as a “Notice to the Court,” with each of the 10

submissions identified in the Local Rules (as applicable) attached as an exhibit to that electronic

document. If a party deems it necessary to file any of those submissions under seal, it may file one
separate electronic document, styled as a “Motion for Leave to File Under Seal,” and attach those

submissions as exhibits. Any such motion should explain in detail why sealing the attached exhibits

is necessary. Similar expectations govern the submissions required by Local Rule CV-16(f).


                  on 2nd day of September, 2021.




                                                       Robert Pitman
                                                       UNITED STATES DISTRICT JUDGE
